                      Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 1 of 27
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

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 6RXWKHUQ'LVWULFWRI7H[DV
 Southern District of Texas (Houston Division)
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Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHGHEWRU¶VQDPHDQGWKHFDVH
QXPEHU LINQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH



   'HEWRU¶VQDPH                         Harvey Gulf International Marine, LLC
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                                                                                                        RIEXVLQHVV

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   7\SHRIGHEWRU                        
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                          Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 2 of 27

'HEWRU          Harvey Gulf International Marine, LLC
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                                                         Debtors aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 LQVLGHUVRUDIILOLDWHV DUHOHVVWKDQ DPRXQWVXEMHFWWRDGMXVWPHQWRQ
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                                                                 ([FKDQJH$FWRI )LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 2IILFLDO)RUP$ ZLWKWKLVIRUP

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                       Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 3 of 27

'HEWRU       Harvey Gulf International Marine, LLC
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                                       X A bankruptcy case concerning debtors afILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW



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           Statistical and administrative information



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                       Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 4 of 27

'HEWRU       Harvey Gulf International Marine, LLC
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           Request for Relief, Declaration, and Signatures


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                                        8   /s/ Shane J. Guidry
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                                                   Chief Executive Officer
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                                            Harry A. Perrin
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                                            713-758-2222
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                 Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 5 of 27

)LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

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                       Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 7 of 27

 Fill in this information to identify the case and this filing:


 Debtor Name Harvey Gulf International Marine, LLC
             __________________________________________________________________
                                               Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X                                               List of Affiliate Debtors
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 03 / 07 / 2018
                    ______________                         8    /s/ Shane J. Guidry
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                                Shane J. Guidry
                                                                ________________________________________________________________________
                                                                Printed name




                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor


Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 8 of 27
    Fill in this information to identify the case and this filing:


                Harvey Gulf International Marine, LLC
    Debtor Name __________________________________________________________________

                                                   Southern
    United States Bankruptcy Court for the: ______________________             Texas
                                                                   District of __________
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                       Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 9 of 27

 Fill in this information to identify the case and this filing:


 Debtor Name Harvey Gulf International Marine, LLC
             __________________________________________________________________
                                               Southern
 United States Bankruptcy Court for the: ______________________               Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X                                               Property Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 03 / 07 / 2018
                    ______________                         8    /s/ Shane J. Guidry
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                                Shane J. Guidry
                                                                ________________________________________________________________________
                                                                Printed name




                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor


Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 10 of 27



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    Marine, LLC                                             New Orleans, LA 70139




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                 Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 11 of 27



                    CORPORATE OWNERSHIP STATEMENT (RULES 1007 (a)(1) and 7007.1)

Pursuant to Federal Rules of Bankruptcy Procedure 1007 (a)(1) and 7007.1, the following is a (are) corporation(s), other
than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests:

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        Harvey Gulf International HGIM Corp.                   701 Poydras St., Ste. 3700,        100.00%
        Marine, LLC                                            New Orleans, LA 70139




                                                              
                      Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 12 of 27

 Fill in this information to identify the case and this filing:


 Debtor Name Harvey Gulf International Marine, LLC
             __________________________________________________________________
                                               Southern
 United States Bankruptcy Court for the: ______________________               Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X                                               List of Equity Holders and Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 03 / 07 / 2018
                    ______________                         8    /s/ Shane J. Guidry
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                                Shane J. Guidry
                                                                ________________________________________________________________________
                                                                Printed name




                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor


Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                                 Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 13 of 27

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ůŝƐƚŽĨĐƌĞĚŝƚŽƌƐŚŽůĚŝŶŐƚŚĞϯϬůĂƌŐĞƐƚƵŶƐĞĐƵƌĞĚĐůĂŝŵƐŵƵƐƚďĞĨŝůĞĚŝŶĂŚĂƉƚĞƌϭϭŽƌŚĂƉƚĞƌϵĐĂƐĞ͘/ŶĐůƵĚĞĐůĂŝŵƐǁŚŝĐŚƚŚĞĚĞďƚŽƌĚŝƐƉƵƚĞƐ͘ŽŶŽƚŝŶĐůƵĚĞĐůĂŝŵƐďǇĂŶǇƉĞƌƐŽŶŽƌĞŶƚŝƚǇǁŚŽŝƐĂŶ
ŝŶƐŝĚĞƌ͕ĂƐĚĞĨŝŶĞĚŝŶϭϭh͘^͘͘ΑϭϬϭ;ϯϭͿ͘ůƐŽ͕ĚŽŶŽƚŝŶĐůƵĚĞĐůĂŝŵƐďǇƐĞĐƵƌĞĚĐƌĞĚŝƚŽƌƐ͕ƵŶůĞƐƐƚŚĞƵŶƐĞĐƵƌĞĚĐůĂŝŵƌĞƐƵůƚŝŶŐĨƌŽŵŝŶĂĚĞƋƵĂƚĞĐŽůůĂƚĞƌĂůǀĂůƵĞƉůĂĐĞƐƚŚĞĐƌĞĚŝƚŽƌĂŵŽŶŐƚŚĞŚŽůĚĞƌƐŽĨ
ƚŚĞϯϬůĂƌŐĞƐƚƵŶƐĞĐƵƌĞĚĐůĂŝŵƐ͘



EĂŵĞŽĨĐƌĞĚŝƚŽƌĂŶĚĐŽŵƉůĞƚĞŵĂŝůŝŶŐĂĚĚƌĞƐƐ͕                  EĂŵĞ͕ƚĞůĞƉŚŽŶĞŶƵŵďĞƌ͕ĂŶĚĞŵĂŝůĂĚĚƌĞƐƐ EĂƚƵƌĞŽĨƚŚĞĐůĂŝŵ           /ŶĚŝĐĂƚĞŝĨĐůĂŝŵ                  ŵŽƵŶƚŽĨƵŶƐĞĐƵƌĞĚĐůĂŝŵ
ŝŶĐůƵĚŝŶŐǌŝƉĐŽĚĞ                                               ŽĨĐƌĞĚŝƚŽƌĐŽŶƚĂĐƚ                                                      ŝƐĐŽŶƚŝŶŐĞŶƚ͕    /ĨƚŚĞĐůĂŝŵŝƐĨƵůůǇƵŶƐĞĐƵƌĞĚ͕ĨŝůůŝŶŽŶůǇƵŶƐĞĐƵƌĞĚĐůĂŝŵ
                                                                                                            ;ĨŽƌĞǆĂŵƉůĞ͕ƚƌĂĚĞĚĞďƚƐ͕   ƵŶůŝƋƵŝĚĂƚĞĚ͕        ĂŵŽƵŶƚ͘/ĨĐůĂŝŵŝƐƉĂƌƚŝĂůůǇƐĞĐƵƌĞĚ͕ĨŝůůŝŶƚŽƚĂůĐůĂŝŵ
                                                                                                            ďĂŶŬůŽĂŶƐ͕ƉƌŽĨĞƐƐŝŽŶĂů     ŽƌĚŝƐƉƵƚĞĚ         ĂŵŽƵŶƚĂŶĚĚĞĚƵĐƚŝŽŶĨŽƌǀĂůƵĞŽĨĐŽůůĂƚĞƌĂůŽƌƐĞƚŽĨĨƚŽ
                                                                                                            ƐĞƌǀŝĐĞƐ͕ĂŶĚŐŽǀĞƌŶŵĞŶƚ
                                                                                                                                                                               ĐĂůĐƵůĂƚĞƵŶƐĞĐƵƌĞĚĐůĂŝŵ͘
                                                                                                            ĐŽŶƚƌĂĐƚƐͿ
                                                                                                                                                                              ĞĚƵĐƚŝŽŶĨŽƌ
                                                                                                                                                            dŽƚĂůĐůĂŝŵ͕ŝĨ
                                                                                                                                                                              ǀĂůƵĞŽĨĐŽůůĂƚĞƌĂů hŶƐĞĐƵƌĞĚůĂŝŵ
                                                                                                                                                            ƉĂƌƚŝĂůůǇƐĞĐƵƌĞĚ
                                                                                                                                                                              ŽƌƐĞƚŽĨĨ

                                                                 tŽŽĚƐ,ŽůĞ'ƌŽƵƉ͕/ŶĐ͘
                tŽŽĚƐ,ŽůĞ'ƌŽƵƉ͕/ŶĐ͘
                                                                 ƚƚŶ͗ZŽďĞƌƚ,ĂŵŝůƚŽŶ͕:ƌ͕͘WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨ
                ƚƚŶ͗ZŽďĞƌƚ,ĂŵŝůƚŽŶ͕:ƌ͕͘WƌĞƐŝĚĞŶƚĂŶĚ
                                                                 ǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ
ϭ               ŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ                                                                                dƌĂĚĞ                                                                                   ΨϱϳϬ͕ϮϱϬ͘ϬϬ
                                                                 W,KE͗ϱϬϴͲϱϰϬͲϴϬϴϬ
                ϭϱƌĞĞŬZŽĂĚ
                                                                 &y͗ϱϬϴͲϱϰϬͲϭϬϬϭ
                DĂƌŝŽŶ͕DϬϮϳϯϴ
                                                                 D/>͗ďŚĂŵŝůƚŽŶΛǁŚŐƌƉ͘ĐŽŵ


                ĂŶǇŽŶKĨĨƐŚŽƌĞ/ŶĐ
                                                                 ĂŶǇŽŶKĨĨƐŚŽƌĞ/ŶĐ
                ƚƚŶ͗KǁĞŶ<ƌĂƚǌ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨ
                                                                 ƚƚŶ͗KǁĞŶ<ƌĂƚǌ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨǆĞĐƵƚŝǀĞ
                ǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ
Ϯ                                                                KĨĨŝĐĞƌ                                               dƌĂĚĞ                                                                                   Ψϯϱϯ͕ϵϮϴ͘ϬϬ
                ϯϱϬϱt͘^Ăŵ,ŽƵƐƚŽŶWŬǁǇ͘
                                                                 W,KE͗ϮϴϭͲϲϭϴͲϬϰϬϬ
                ^ƵŝƚĞϰϬϬ
                                                                 &y͗ϮϴϭͲϲϭϴͲϬϱϬϬ
                ,ŽƵƐƚŽŶ͕dyϳϳϬϰϯ


                ^ĞĂdƌĂŶDĂƌŝŶĞ͕>͘>͘͘                           ^ĞĂdƌĂŶDĂƌŝŶĞ͕>͘>͘͘
                ƚƚŶ͗ůĂŬĞ:͘DŝŐƵĞǌ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨ      ƚƚŶ͗ůĂŬĞ:͘DŝŐƵĞǌ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨǆĞĐƵƚŝǀĞ
ϯ               ǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ                                KĨĨŝĐĞƌ                                               dƌĂĚĞ                                                                                   ΨϭϳϮ͕ϯϬϳ͘ϰϬ
                W͘K͘ŽǆϭϴϮϬ                                    W,KE͗ϵϴϱͲϲϯϭͲϵϬϬϰ
                ŵĞůŝĂ͕>ϳϬϯϰϬ                                 &y͗ϵϴϱͲϲϯϭͲϬϰϬϰ



                'ůŽďĂůĂƚĂ^ǇƐƚĞŵƐ͕/ŶĐ͘                        'ůŽďĂůĂƚĂ^ǇƐƚĞŵƐ͕/ŶĐ͘
                ƚƚŶ͗ŚƵĐŬsŝŶĐĞŶƚ͕ŚĂŝƌŵĂŶΘŚŝĞĨ           ƚƚŶ͗ŚƵĐŬsŝŶĐĞŶƚ͕ŚĂŝƌŵĂŶΘŚŝĞĨǆĞĐƵƚŝǀĞ
ϰ               ǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ                                KĨĨŝĐĞƌ                                               dƌĂĚĞ                                                                                   ΨϭϬϰ͕ϱϴϱ͘Ϯϱ
                ϯϭϬ>ĂƐĞƌ>ĂŶĞ                                   W,KE͗ϯϯϳͲϮϵϭͲϲϱϬϬ
                >ĂĨĂǇĞƚƚĞ͕>ϳϬϱϬϳ                              &y͗ϯϯϳͲϮϵϭͲϵϳϯϵ



                                                                 <ŽŶŐƐďĞƌŐDĂƌŝƚŝŵĞ͕/ŶĐ͘
                <ŽŶŐƐďĞƌŐDĂƌŝƚŝŵĞ͕/ŶĐ͘
                                                                 ƚƚŶ͗:ŽŶ,ŽůǀŝŬ͕WƌĞƐŝĚĞŶƚ
                ƚƚŶ͗:ŽŶ,ŽůǀŝŬ͕WƌĞƐŝĚĞŶƚ
ϱ                                                                W,KE͗ϳϭϯͲϯϮϵͲϱϱϴϬ                                   dƌĂĚĞ                                                                                   ΨϭϬϬ͕ϳϳϭ͘ϴϴ
                ϱϯϳϯt͘^Ăŵ,ŽƵƐƚŽŶWĂƌŬǁĂǇE͘
                                                                 &y͗ϳϭϯͲϯϮϵͲϱϱϴϭ
                ,ŽƵƐƚŽŶ͕dyϳϳϬϰϭ
                                                                 D/>͗ũŽŶ͘ŚŽůǀŝŬΛŬŽŶŐƐďĞƌŐ͘ĐŽŵ



                DĂƌƚŝŶŶĞƌŐǇ^ĞƌǀŝĐĞƐ͕>>
                                                                 DĂƌƚŝŶŶĞƌŐǇ^ĞƌǀŝĐĞƐ͕>>
                ƚƚŶ͗ĂŵŽŶ<ŝŶŐ͕ŚŝĞĨKƉĞƌĂƚŝŶŐKĨĨŝĐĞƌ
                                                                 ƚƚŶ͗ĂŵŽŶ<ŝŶŐ͕ŚŝĞĨKƉĞƌĂƚŝŶŐKĨĨŝĐĞƌ
ϲ               dŚƌĞĞZŝǀĞƌǁĂǇ                                                                                         dƌĂĚĞ                                                                                    Ψϴϱ͕ϵϴϳ͘ϲϴ
                                                                 W,KE͗ϳϭϯͲϯϱϬͲϲϴϬϬ
                ^ƵŝƚĞϰϬϬ
                                                                 &y͗ϳϭϯͲϯϱϬͲϲϴϳϬ
                ,ŽƵƐƚŽŶ͕dyϳϳϬϱϲ



                                                                 sĂĐĐŽ͕/ŶĐ͘
                sĂĐĐŽ͕/ŶĐ͘
                                                                 ƚƚŶ͗'ŽƌĚŽŶŽǀĞ͕WƌĞƐŝĚĞŶƚ
                ƚƚŶ͗'ŽƌĚŽŶŽǀĞ͕WƌĞƐŝĚĞŶƚ
ϳ                                                                W,KE͗ϵϴϱͲϴϱϭͲϰϰϬϬ                                   dƌĂĚĞ                                                                                    Ψϴϯ͕ϵϮϳ͘ϰϬ
                W͘K͘ŽǆϴϬϯϮ
                                                                 &y͗ϵϴϱͲϴϱϭͲϰϭϰϭ
                ,ŽƵŵĂ͕>ϳϬϯϲϭ
                                                                 D/>͗ůĂƵƌĂΛǀĂĐĐŽŵĂƌŝŶĞ͘ĐŽŵ


                                                                 KĨĨƐŚŽƌĞKŝů^ĞƌǀŝĐĞƐ/ŶĐ͘
                KĨĨƐŚŽƌĞKŝů^ĞƌǀŝĐĞƐ/ŶĐ͘
                                                                 ƚƚŶ͗^ƚĂĐǇ:Ž^ƚĂŶůĞǇ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨǆĞĐƵƚŝǀĞ
                ƚƚŶ͗^ƚĂĐǇ:Ž^ƚĂŶůĞǇ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨ
                                                                 KĨĨŝĐĞƌ
ϴ               ǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ                                                                                       dƌĂĚĞ                                                                                   Ψϳϭ͕Ϭϭϯ͘ϲϬ
                                                                 W,KE͗ϵϳϵͲϮϲϱͲϯϯϬϬ
                ϭϲϬϴKůĚŶŐůĞƚŽŶZŽĂĚ
                                                                 &y͗ϵϳϵͲϮϲϱͲϯϯϬϳ
                ůƵƚĞ͕dyϳϳϱϯϭ
                                                                 D/>͗ƐƚĂĐǇΛŽĨĨƐŚŽƌĞŽŝů͘ĐŽŵ
                                   Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 14 of ĂƐĞŶƵŵďĞƌ;ŝĨŬŶŽǁŶͿͺͺͺͺͺͺͺͺͺͺ
       Harvey Gulf International Marine, LLC
ĞďƚŽƌͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ                                                                        27

   EĂŵĞŽĨĐƌĞĚŝƚŽƌĂŶĚĐŽŵƉůĞƚĞŵĂŝůŝŶŐĂĚĚƌĞƐƐ͕             EĂŵĞ͕ƚĞůĞƉŚŽŶĞŶƵŵďĞƌ͕ĂŶĚĞŵĂŝůĂĚĚƌĞƐƐ EĂƚƵƌĞŽĨƚŚĞĐůĂŝŵ              /ŶĚŝĐĂƚĞŝĨĐůĂŝŵ                  ŵŽƵŶƚŽĨƵŶƐĞĐƵƌĞĚĐůĂŝŵ
   ŝŶĐůƵĚŝŶŐǌŝƉĐŽĚĞ                                          ŽĨĐƌĞĚŝƚŽƌĐŽŶƚĂĐƚ                                                         ŝƐĐŽŶƚŝŶŐĞŶƚ͕    /ĨƚŚĞĐůĂŝŵŝƐĨƵůůǇƵŶƐĞĐƵƌĞĚ͕ĨŝůůŝŶŽŶůǇƵŶƐĞĐƵƌĞĚĐůĂŝŵ
                                                                                                          ;ĨŽƌĞǆĂŵƉůĞ͕ƚƌĂĚĞĚĞďƚƐ͕      ƵŶůŝƋƵŝĚĂƚĞĚ͕        ĂŵŽƵŶƚ͘/ĨĐůĂŝŵŝƐƉĂƌƚŝĂůůǇƐĞĐƵƌĞĚ͕ĨŝůůŝŶƚŽƚĂůĐůĂŝŵ
                                                                                                          ďĂŶŬůŽĂŶƐ͕ƉƌŽĨĞƐƐŝŽŶĂů        ŽƌĚŝƐƉƵƚĞĚ         ĂŵŽƵŶƚĂŶĚĚĞĚƵĐƚŝŽŶĨŽƌǀĂůƵĞŽĨĐŽůůĂƚĞƌĂůŽƌƐĞƚŽĨĨƚŽ
                                                                                                          ƐĞƌǀŝĐĞƐ͕ĂŶĚŐŽǀĞƌŶŵĞŶƚ
                                                                                                                                                                                ĐĂůĐƵůĂƚĞƵŶƐĞĐƵƌĞĚĐůĂŝŵ͘
                                                                                                          ĐŽŶƚƌĂĐƚƐͿ
                                                                                                                                                                               ĞĚƵĐƚŝŽŶĨŽƌ
                                                                                                                                                             dŽƚĂůĐůĂŝŵ͕ŝĨ
                                                                                                                                                                               ǀĂůƵĞŽĨĐŽůůĂƚĞƌĂů hŶƐĞĐƵƌĞĚůĂŝŵ
                                                                                                                                                             ƉĂƌƚŝĂůůǇƐĞĐƵƌĞĚ
                                                                                                                                                                               ŽƌƐĞƚŽĨĨ


                  ^ĞǁĂƌƚ^ƵƉƉůǇ͕/ŶĐ͘                          ^ĞǁĂƌƚ^ƵƉƉůǇ͕/ŶĐ͘
                  ƚƚŶ͗ůůŝĞĚĂŵƐ///͕WƌĞƐŝĚĞŶƚ             ƚƚŶ͗ůůŝĞĚĂŵƐ///͕WƌĞƐŝĚĞŶƚ
   ϵ                                                                                                               dƌĂĚĞ                                                                                         Ψϱϲ͕ϮϯϮ͘ϬϬ
                  W͘K͘ƌĂǁĞƌ>                                W,KE͗ϵϴϱͲϯϴϱͲϬϯϴϬ
                  DŽƌŐĂŶŝƚǇ͕>ϳϬϯϴϭ                        &y͗ϵϴϱͲϯϴϱͲϬϰϳϭ




                  tĂƌƚƐŝůĂEŽƌƚŚŵĞƌŝĐĂ͕/ŶĐ͘                 tĂƌƚƐŝůĂEŽƌƚŚŵĞƌŝĐĂ͕/ŶĐ͘
                  ƚƚŶ͗ĂƌŽŶƌĞƐŶĂŚĂŶ͕DĂŶĂŐŝŶŐŝƌĞĐƚŽƌ     ƚƚŶ͗ĂƌŽŶƌĞƐŶĂŚĂŶ͕DĂŶĂŐŝŶŐŝƌĞĐƚŽƌ
   ϭϬ                                                                                                              dƌĂĚĞ                                                                                         Ψϱϭ͕ϰϳϴ͘ϲϵ
                  ϭϲϯϯϬŝƌĞŶƚĞƌůǀĚ͘                       W,KE͗ϮϴϭͲϮϯϯͲϲϮϬϬ
                  ,ŽƵƐƚŽŶ͕dyϳϳϬϯϮ                            &y͗ϮϴϭͲϮϯϯͲϲϮϯϯ



                  EĂƚŝŽŶĂůKŝůǁĞůůsĂƌĐŽ͕>͘W͘
                                                               EĂƚŝŽŶĂůKŝůǁĞůůsĂƌĐŽ͕>͘W͘
                  ƚƚŶ͗ůĂǇ͘tŝůůŝĂŵƐ͕WƌĞƐŝĚĞŶƚ͕
                                                               ƚƚŶ͗ůĂǇ͘tŝůůŝĂŵƐ͕WƌĞƐŝĚĞŶƚ͕ŚĂŝƌŵĂŶ͕ĂŶĚ
                  ŚĂŝƌŵĂŶ͕ĂŶĚŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ
   ϭϭ                                                          ŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ                             dƌĂĚĞ                                                                                         ΨϱϬ͕Ϯϰϳ͘ϱϴ
                  ZŝŐ^ŽůƵƚŝŽŶƐ^ƉĂƌĞƐĂŶĚ^ĞƌǀŝĐĞ
                                                               W,KE͗ϳϭϯͲϯϳϱͲϯϳϬϬ
                  ϱϮϭϮtĞƐƚ,ǁǇϵϬ
                                                               &y͗ϳϭϯͲϯϳϱͲϯϵϵϰ
                  EĞǁ/ďĞƌŝĂ͕>ϳϬϱϲϬ


                  ^ǁŝƌĞKŝůĨŝĞůĚ^ĞƌǀŝĐĞƐ>>
                                                               ^ǁŝƌĞKŝůĨŝĞůĚ^ĞƌǀŝĐĞƐ>>
                  ƚƚŶ͗DŝŬĞWĞƌĞƌĂ͕ŝƌĞĐƚŽƌΘ'ĞŶĞƌĂů
                                                               ƚƚŶ͗DŝŬĞWĞƌĞƌĂ͕ŝƌĞĐƚŽƌΘ'ĞŶĞƌĂůDĂŶĂŐĞƌh^
                  DĂŶĂŐĞƌh^
   ϭϮ                                                          W,KE͗ϮϴϭͲϮϭϬͲϱϱϵϴ                              dƌĂĚĞ                                                                                            Ψϰϴ͕ϲϬϱ͘ϬϮ
                  ϮϴϰϮϬ,ĂƌĚǇdŽůůZŽĂĚ
                                                               &y͗ϮϴϭͲϮϭϬͲϱϱϵϵ
                  ^ƵŝƚĞϭϬϬ
                                                               D/>͗ƵƐĂΛƐǁŝƌĞŽƐ͘ĐŽŵ
                  ^ƉƌŝŶŐ͕dyϳϳϯϳϯ

                  ^KWh^WƌŽĚƵĐƚƐ
                  ƚƚŶ͗ĞŶǀĂŶĞƵƌĚĞŶ͕ŚŝĞĨǆĞĐƵƚŝǀĞ
                                                               ^KWh^WƌŽĚƵĐƚƐ
                  KĨĨŝĐĞƌ
                                                               ƚƚŶ͗ĞŶǀĂŶĞƵƌĚĞŶ͕ŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ
   ϭϯ             ƋƵŝůŽŶŶƚĞƌƉƌŝƐĞƐ>>ͲĚͬďͬĂ^ŚĞůůKŝů                                                       dƌĂĚĞ                                                                                         Ψϰϱ͕ϵϯϵ͘Ϭϱ
                                                               W,KE͗ϳϭϯͲϮϰϭͲϲϭϲϭ
                  WƌŽĚƵĐƚƐh^
                                                               &y͗ϳϭϯͲϮϰϭͲϰϬϰϰ
                  ϵϭϬ>ŽƵŝƐŝĂŶĂ^ƚƌĞĞƚ
                  ,ŽƵƐƚŽŶ͕dyϳϳϬϬϮ


                  DϮ^ƵďƐĞĂKƉĞƌĂƚŝŽŶƐ>>
                                                               DϮ^ƵďƐĞĂKƉĞƌĂƚŝŽŶƐ>>
                  DŝŬĞƌŶŽůĚ͕ŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ
   ϭϰ                                                          DŝŬĞƌŶŽůĚ͕ŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ                dƌĂĚĞ                                                                                         Ψϰϱ͕ϳϭϵ͘Ϯϭ
                  ϮϰϲϮϰ/Ͳϰϱ͕^ƵŝƚĞϭϱϬ
                                                               W,KE͗ϰϰ;ϬͿϭϮϮϰϵϯϳϰϳϳ
                  ^ƉƌŝŶŐ͕dyϳϳϯϴϲ



                  ^ƉĂƌƌŽǁƐKĨĨƐŚŽƌĞ>>
                                                               ^ƉĂƌƌŽǁƐKĨĨƐŚŽƌĞ>>
                  ƚƚŶ͗^ƚĞǁĂƌƚDŝƚĐŚĞůů͕ŚŝĞĨǆĞĐƵƚŝǀĞ
                                                               ƚƚŶ͗^ƚĞǁĂƌƚDŝƚĐŚĞůů͕ŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ
   ϭϱ             KĨĨŝĐĞƌ                                                                                          dƌĂĚĞ                                                                                         Ψϰϯ͕ϲϰϬ͘ϱϬ
                                                               W,KE͗ϳϭϯͲϴϵϲͲϬϬϬϮ
                  ϲϳϱϴEŽƌƚŚǁŝŶĚƐƌŝǀĞ
                                                               &y͗ϳϭϯͲϴϵϲͲϱϭϯϬ
                  ,ŽƵƐƚŽŶ͕dyϳϳϬϰϭ


                  ƵŵŵŝŶƐDŝĚͲ^ŽƵƚŚ͕>>
                  ƚƚŶ͗DĂƌŬtŚŝƚĞŚĞĂĚ͕ŚŝĞĨ&ŝŶĂŶĐŝĂů       ƵŵŵŝŶƐDŝĚͲ^ŽƵƚŚ͕>>
                  KĨĨŝĐĞƌ                                      ƚƚŶ͗DĂƌŬtŚŝƚĞŚĞĂĚ͕ŚŝĞĨ&ŝŶĂŶĐŝĂůKĨĨŝĐĞƌ
   ϭϲ                                                                                                              dƌĂĚĞ                                                                                         Ψϯϴ͕ϳϰϰ͘Ϯϭ
                  DŽƌŐĂŶŝƚǇƌĂŶĐŚ                           W,KE͗ϵϴϱͲϲϯϭͲϬϱϳϲ
                  ϳϯϴϴ,ŝŐŚǁĂǇϭϴϮ                             &y͗ϵϴϱͲϲϯϭͲϬϬϴϭ
                  DŽƌŐĂŶŝƚǇ͕>ϳϬϯϴϬ

                  ^ŵĞƌŝĐĂƐ͕>>
                  ƚƚŶ͗ŚƌŝƐƚŽƉŚĞƌ:͘tŝĞƌŶŝĐŬŝ͕             ^ŵĞƌŝĐĂƐ͕>>
                  ŚĂŝƌŵĂŶ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨǆĞĐƵƚŝǀĞ     ƚƚŶ͗ŚƌŝƐƚŽƉŚĞƌ:͘tŝĞƌŶŝĐŬŝ͕
   ϭϳ             KĨĨŝĐĞƌ                                      ŚĂŝƌŵĂŶ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ     dƌĂĚĞ                                                                                         Ψϯϳ͕ϭϮϰ͘ϱϬ
                  ϵϵϬEŽƌƚŚŽƌƉŽƌĂƚĞƌŝǀĞ                    W,KE͗ϱϬϰͲϳϯϭͲϮϵϲϬ͖ϮϴϭͲϴϳϳͲϲϬϬϬ
                  ^ƵŝƚĞϯϬϳ                                    &y͗ϮϴϭͲϴϳϳͲϱϵϳϲ
                  ,ĂƌĂŚĂŶ͕>ϳϬϭϮϯ


                  >ŽŶĚŽŶKĨĨƐŚŽƌĞŽŶƐƵůƚĂŶƚƐ͕/ŶĐ             >ŽŶĚŽŶKĨĨƐŚŽƌĞŽŶƐƵůƚĂŶƚƐ͕/ŶĐ
                  ƚƚŶ͗^ƚƵĂƌƚ,ŝůů͕WƌĞƐŝĚĞŶƚ                 ƚƚŶ͗^ƚƵĂƌƚ,ŝůů͕WƌĞƐŝĚĞŶƚ
   ϭϴ             ^ŝĞƌƌĂWŝŶĞƐ//                              W,KE͗ϮϴϭͲϵϴϳͲϳϰϬϬ                                 dƌĂĚĞ                                                                                         ΨϯϮ͕ϲϬϵ͘ϰϵ
                  ϭϱϳϱ^ĂǁĚƵƐƚZŽĂĚ͕^ƵŝƚĞϮϬϬ                 &y͗ϮϴϭͲϵϴϳͲϳϰϯϴ
                  dŚĞtŽŽĚůĂŶĚƐ͕dyϳϳϯϴϬ                      D/>͗ŚŽƵƐƚŽŶΛůŽĐͲŐƌŽƵƉ͘ĐŽŵ



                  ,ŝŐŚZŽůůĞƌ>E'>>
                                                               ,ŝŐŚZŽůůĞƌ>E'>>
                  ƚƚŶ͗ƵƐƚŝŶĂŝůĞǇ͕ŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ
   ϭϵ                                                          ƚƚŶ͗ƵƐƚŝŶĂŝůĞǇ͕ŚŝĞĨǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ        dƌĂĚĞ                                                                                         Ψϯϭ͕ϵϴϮ͘ϳϬ
                  ϭϬϬϴ^ŽƵƚŚǀŝĞǁŝƌĐůĞ
                                                               W,KE͗ϵϯϲͲϱϵϴͲϴϱϴϳ
                  ĞŶƚĞƌ͕dyϳϱϵϯϱ




KĨĨŝĐŝĂů&ŽƌŵϮϬϰ                                                   ŚĂƉƚĞƌϭϭŽƌŚĂƉƚĞƌϵĂƐĞƐ͗>ŝƐƚŽĨƌĞĚŝƚŽƌƐtŚŽ,ĂǀĞƚŚĞϯϬ>ĂƌŐĞƐƚhŶĞĐƵƌĞĚůĂŝŵƐ                                                           WĂŐĞϮ
                                   Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 15 of ĂƐĞŶƵŵďĞƌ;ŝĨŬŶŽǁŶͿͺͺͺͺͺͺͺͺͺͺ
       Harvey Gulf International Marine, LLC
ĞďƚŽƌͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ                                                                        27

   EĂŵĞŽĨĐƌĞĚŝƚŽƌĂŶĚĐŽŵƉůĞƚĞŵĂŝůŝŶŐĂĚĚƌĞƐƐ͕            EĂŵĞ͕ƚĞůĞƉŚŽŶĞŶƵŵďĞƌ͕ĂŶĚĞŵĂŝůĂĚĚƌĞƐƐ EĂƚƵƌĞŽĨƚŚĞĐůĂŝŵ              /ŶĚŝĐĂƚĞŝĨĐůĂŝŵ                  ŵŽƵŶƚŽĨƵŶƐĞĐƵƌĞĚĐůĂŝŵ
   ŝŶĐůƵĚŝŶŐǌŝƉĐŽĚĞ                                         ŽĨĐƌĞĚŝƚŽƌĐŽŶƚĂĐƚ                                                         ŝƐĐŽŶƚŝŶŐĞŶƚ͕    /ĨƚŚĞĐůĂŝŵŝƐĨƵůůǇƵŶƐĞĐƵƌĞĚ͕ĨŝůůŝŶŽŶůǇƵŶƐĞĐƵƌĞĚĐůĂŝŵ
                                                                                                         ;ĨŽƌĞǆĂŵƉůĞ͕ƚƌĂĚĞĚĞďƚƐ͕      ƵŶůŝƋƵŝĚĂƚĞĚ͕        ĂŵŽƵŶƚ͘/ĨĐůĂŝŵŝƐƉĂƌƚŝĂůůǇƐĞĐƵƌĞĚ͕ĨŝůůŝŶƚŽƚĂůĐůĂŝŵ
                                                                                                         ďĂŶŬůŽĂŶƐ͕ƉƌŽĨĞƐƐŝŽŶĂů        ŽƌĚŝƐƉƵƚĞĚ         ĂŵŽƵŶƚĂŶĚĚĞĚƵĐƚŝŽŶĨŽƌǀĂůƵĞŽĨĐŽůůĂƚĞƌĂůŽƌƐĞƚŽĨĨƚŽ
                                                                                                         ƐĞƌǀŝĐĞƐ͕ĂŶĚŐŽǀĞƌŶŵĞŶƚ
                                                                                                                                                                               ĐĂůĐƵůĂƚĞƵŶƐĞĐƵƌĞĚĐůĂŝŵ͘
                                                                                                         ĐŽŶƚƌĂĐƚƐͿ
                                                                                                                                                                              ĞĚƵĐƚŝŽŶĨŽƌ
                                                                                                                                                            dŽƚĂůĐůĂŝŵ͕ŝĨ
                                                                                                                                                                              ǀĂůƵĞŽĨĐŽůůĂƚĞƌĂů hŶƐĞĐƵƌĞĚůĂŝŵ
                                                                                                                                                            ƉĂƌƚŝĂůůǇƐĞĐƵƌĞĚ
                                                                                                                                                                              ŽƌƐĞƚŽĨĨ


                  ŝƌŐĂƐWƌŝŽƌŝƚǇEŝƚƌŽŐĞŶ>>                ŝƌŐĂƐWƌŝŽƌŝƚǇEŝƚƌŽŐĞŶ>>
                  ƚƚŶ͗DŝŬĞDŽůŝŶŝŶŝ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨ   ƚƚŶ͗DŝŬĞDŽůŝŶŝŶŝ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨǆĞĐƵƚŝǀĞ
   ϮϬ             ǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ                           KĨĨŝĐĞƌ                                             dƌĂĚĞ                                                                                         ΨϮϴ͕ϳϱϱ͘ϳϬ
                  ϮϱϵE͘ZĂĚŶŽƌͲŚĞƐƚĞƌZŽĂĚ                  W,KE͗ϲϭϬͲϲϴϳͲϱϮϱϯ
                  ZĂĚŶŽƌ͕WϭϵϬϴϳ                            &y͗ϲϭϬͲϮϮϱͲϯϮϳϭ



                  ^ĂŵƉĞǇ&ĂďƌŝĐĂƚŝŽŶ>>                      ^ĂŵƉĞǇ&ĂďƌŝĐĂƚŝŽŶ>>
                  ƚƚŶ͗ZŽƐƐ^ĂŵƉĞǇ͕KǁŶĞƌ                    ƚƚŶ͗ZŽƐƐ^ĂŵƉĞǇ͕KǁŶĞƌ
   Ϯϭ                                                                                                              dƌĂĚĞ                                                                                        ΨϮϴ͕ϭϴϬ͘ϬϬ
                  ϳϬϵĂƐƚDĂŝŶ^ƚ͘                           W,KE͗ϵϴϱͲϱϯϮͲϳϬϬϯ
                  >ŽĐŬƉŽƌƚ͕>ϳϬϯϳϰ                          &y͗ϵϴϱͲϱϯϮͲϯϲϮϱ




                  'ƵůĨ^ŽƵƚŚƌŵĂƚƵƌĞ/ŶĐ͘                    'ƵůĨ^ŽƵƚŚƌŵĂƚƵƌĞ/ŶĐ͘
                  ƚƚŶ͗zǀŽŶŶĞ^ŵŝƚŚ͕KǁŶĞƌ                   ƚƚŶ͗zǀŽŶŶĞ^ŵŝƚŚ͕KǁŶĞƌ
   ϮϮ                                                                                                              dƌĂĚĞ                                                                                        ΨϮϳ͕ϳϰϴ͘ϭϯ
                  ϴϱϱϬWĂƌŬǀĞ                               W,KE͗ϵϴϱͲϴϳϮͲϬϰϴϲ
                  ,ŽƵŵĂ͕>ϳϬϯϲϯ                             &y͗ϵϴϱͲϴϳϮͲϯϭϯϱ



                  ŽůůŝŶŐĞƌ^ŚŝƉǇĂƌĚƐ>>
                                                              ŽůůŝŶŐĞƌ^ŚŝƉǇĂƌĚƐ>>
                  ƚƚŶ͗ĞŶŽƌĚĞůŽŶ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨ
                                                              ƚƚŶ͗ĞŶŽƌĚĞůŽŶ͕WƌĞƐŝĚĞŶƚĂŶĚŚŝĞĨǆĞĐƵƚŝǀĞ
                  ǆĞĐƵƚŝǀĞKĨĨŝĐĞƌ
   Ϯϯ                                                         KĨĨŝĐĞƌ                                              dƌĂĚĞ                                                                                        ΨϮϳ͕ϲϳϴ͘ϵϵ
                  W͘K͘ŽǆϮϱϬ
                                                              W,KE͗ϵϴϱͲϱϯϮͲϮϱϱϰ
                  ϴϯϲϱ,ǁǇϯϬϴ^ŽƵƚŚ
                                                              &y͗ϵϴϱͲϱϯϮͲϳϮϮϱ
                  >ŽĐŬƉŽƌƚ͕>ϳϬϯϳϰ



                  ŽŵƉůĞƚĞDĂƌŝŶĞ^ĞƌǀŝĐĞƐ͕>>               ŽŵƉůĞƚĞDĂƌŝŶĞ^ĞƌǀŝĐĞƐ͕>>
                  ƚƚŶ͗WƌĞƐŝĚĞŶƚŽƌ'ĞŶĞƌĂůŽƵŶƐĞů          ƚƚŶ͗WƌĞƐŝĚĞŶƚŽƌ'ĞŶĞƌĂůŽƵŶƐĞů
   Ϯϰ                                                                                                              dƌĂĚĞ                                                                                        ΨϮϲ͕Ϭϵϱ͘ϳϱ
                  ϭϮϱϬ>ΘZŽĂĚ                             W,KE͗ϴϴϴͲϲϵϵͲϵϮϲϳ͖ϵϴϱͲϲϯϭͲϯϴϬϰ
                  DĞƚĂŝƌŝĞ͕>ϳϬϬϬϭ                          &y͗ϴϴϴͲϳϯϵͲϰϮϮϭ



                  DĂƌŝŶĞ/ŶƚĞƌŝŽƌ^ǇƐƚĞŵƐ                     DĂƌŝŶĞ/ŶƚĞƌŝŽƌ^ǇƐƚĞŵƐ
                  ƚƚŶ͗ĚĂŵZŽĚŐĞƌƐ͕ŝƌĞĐƚŽƌŽĨƵƐŝŶĞƐƐ   ƚƚŶ͗ĚĂŵZŽĚŐĞƌƐ͕ŝƌĞĐƚŽƌŽĨƵƐŝŶĞƐƐ
                  ĞǀĞůŽƉŵĞŶƚ                                 ĞǀĞůŽƉŵĞŶƚ
   Ϯϱ                                                                                                              dƌĂĚĞ                                                                                        ΨϮϱ͕ϱϲϮ͘ϱϬ
                  Ϯϭϭϯ'ŽǀĞƌŶŵĞŶƚ^ƚ͘                         W,KE͗ϵϴϱͲϴϬϭͲϮϮϬϮ
                  ^ƵŝƚĞ,Ͳϭ                                   &y͗ϵϴϱͲϴϳϱͲϵϮϵϳ
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                  /ŶƚĞƌŶĂƚŝŽŶĂůWĂŝŶƚ>>                     /ŶƚĞƌŶĂƚŝŽŶĂůWĂŝŶƚ>>
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                  EŽƌǁĂǇ




KĨĨŝĐŝĂů&ŽƌŵϮϬϰ                                                  ŚĂƉƚĞƌϭϭŽƌŚĂƉƚĞƌϵĂƐĞƐ͗>ŝƐƚŽĨƌĞĚŝƚŽƌƐtŚŽ,ĂǀĞƚŚĞϯϬ>ĂƌŐĞƐƚhŶĞĐƵƌĞĚůĂŝŵƐ                                                           WĂŐĞϯ
                      Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 16 of 27

 Fill in this information to identify the case and this filing:


 Debtor Name Harvey Gulf International Marine, LLC
             __________________________________________________________________
                                               Southern
 United States Bankruptcy Court for the: ______________________               Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         X    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 03 / 07 / 2018
                    ______________                         8    /s/ Shane J. Guidry
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                                Shane J. Guidry
                                                                ________________________________________________________________________
                                                                Printed name




                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor


Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                         WRITTEN CONSENT OF
              THE MANAGERS OR BOARDS OF DIRECTORS OF
      CERTAIN SUBSIDIARIES OF HGIM HOLDINGS, LLC AND HGIM CORP.

                                          March 6, 2018

        The undersigned, being the managers or members of the boards of directors, as applicable
(collectively, the “Governing Body”), of each of the subsidiaries of HGIM Holdings, LLC and its
wholly-owned subsidiary HGIM Corp. (collectively, the “Parent Companies”) listed on the
signature pages hereto (collectively, the “Subsidiaries”), acting for and on behalf of each of the
Subsidiaries by written consent in lieu of a meeting, DO HEREBY CONSENT to the taking of
the following actions, and DO HEREBY ADOPT the following resolutions pursuant to the
limited liability company agreement or bylaws or similar organizational document of each of the
Subsidiaries:

Chapter 11 Filing

         WHEREAS, the Boards of Directors of the Parent Companies have authorized the Parent
Companies to file or cause to be filed with the United States Bankruptcy Court for the Southern
District of Texas or another appropriate court (the “U.S. Bankruptcy Court”) voluntary petitions
for relief pursuant to chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

        WHEREAS, the Boards of Directors of the Parent Companies have authorized the Parent
Companies to execute, deliver, and file or cause to be filed with the U.S. Bankruptcy Court, on
behalf of the Parent Companies, any and all other documents necessary or convenient to effect,
cause or promote the reorganization of the Parent Companies under chapter 11 of the Bankruptcy
Code and any and all other documents, including a Plan of Reorganization (the “Plan”) providing
for the restructuring, reorganization or liquidation of the Parent Companies, and a Disclosure
Statement for the Plan (the “Disclosure Statement”), together with any amendments or
modifications thereto, or any restatements thereof;

        WHEREAS, on February 8, 2018, the Governing Body of each Subsidiary adopted a
resolution recommending that such Subsidiaries enter into the restructuring support agreement and
perform the obligations contemplated therein which such Subsidiaries executed on February 8,
2018 and which became effective on February 16, 2018, and which was subsequently amended
and restated on February 22, 2018 (as so amended and restated, the “Restructuring Support
Agreement”);

        WHEREAS, on February 26, 2018, the Governing Body of each Subsidiary has previously
authorized each Subsidiary to solicit votes to accept or reject the Plan in accordance with section
1125 of the Bankruptcy Code and within the meaning of section 1126 of the Bankruptcy Code (the
“Solicitation”) and has received the results of such Solicitation (the “Solicitation Results”);

        WHEREAS, the Governing Body of each Subsidiary has conducted an evaluation of the
financial state of such Subsidiary, reviewed the strategic alternatives available to such Subsidiary,
the Solicitation Results, and the related circumstances and situation, and consulted with the
financial and legal advisors of such Subsidiary;
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       WHEREAS, the Governing Body of each Subsidiary desires concurrently with the Parent
Companies to file or cause to be filed with a federal bankruptcy court voluntary petitions for relief
pursuant to chapter 11 of the Bankruptcy Code; and

       WHEREAS, the Parent Companies have authorized the Subsidiaries to file or cause to be
filed with the U.S. Bankruptcy Court voluntary petitions for relief pursuant to chapter 11 of the
Bankruptcy Code, and the Subsidiaries and the managers or boards of directors of the Subsidiaries
are authorized and directed to take such actions as are necessary to accomplish same consistent
with such authorization.

        NOW, THEREFORE, BE IT RESOLVED, that the Governing Body of each Subsidiary
has determined that it is desirable and in the best interests of such Subsidiary to file with a federal
bankruptcy court voluntary petitions for relief pursuant to chapter 11 of the Bankruptcy Code as
set forth below;

        FURTHER RESOLVED, that the Governing Body of each Subsidiary hereby authorizes
such Subsidiary to file or cause to be filed with the U.S. Bankruptcy Court voluntary petitions for
relief pursuant to chapter 11 of the Bankruptcy Code;

       FURTHER RESOLVED, that the Governing Body of each Subsidiary hereby authorizes
and empowers each of its officers (collectively, the “Authorized Officers”), acting alone or with
one or more other Authorized Officers, to execute, deliver, and file or cause to be filed with the
U.S. Bankruptcy Court on behalf of such Subsidiary, voluntary petitions pursuant to chapter 11 of
the Bankruptcy Code (the “Petitions”), in such form as prescribed by the Official Forms
promulgated in connection with the Bankruptcy Code;

       FURTHER RESOLVED, that, upon the filing of the Petitions as authorized by the
preceding paragraph, the Governing Body of each Subsidiary hereby authorizes and empowers
each Authorized Officer of such Subsidiary, acting alone or with one or more other Authorized
Officers of such Subsidiary, to execute, deliver, and file or cause to be filed with the U.S.
Bankruptcy Court, on behalf of such Subsidiary, all papers, motions, applications, schedules, and
pleadings necessary, appropriate, or convenient to facilitate the chapter 11 bankruptcy case and all
of its matters and proceedings, and any and all other documents necessary, appropriate, or
convenient in connection with the commencement of the chapter 11 case, each in such form or
forms as the Authorized Officer may approve on behalf of such Subsidiary;

        FURTHER RESOLVED, that the Governing Body of each Subsidiary hereby authorizes
and empowers the Authorized Officers of such Subsidiary to execute, deliver and file or cause to
be filed with the U.S. Bankruptcy Court, on behalf of such Subsidiary, all papers and pleadings
that such Authorized Officers believe to be necessary or desirable to effect, cause or further the
reorganization of such Subsidiary under chapter 11 of the Bankruptcy Code and any and all other
documents, including the Plan and the Disclosure Statement, together with any amendments or
modifications thereto, or any restatements thereof;
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Retention of Professionals

        FURTHER RESOLVED, that the engagement of Vinson & Elkins LLP as general
bankruptcy counsel to represent and assist each Subsidiary in carrying out its duties under the
Bankruptcy Code in U.S. Bankruptcy Court, and to take any and all actions to advance each
Subsidiary’s rights and obligations, including filings and pleadings, is hereby approved, and each
of the Authorized Officers of each Subsidiary is hereby authorized and directed to take such actions
as may be required to so engage such firm for such purposes; and in connection therewith, each of
the Authorized Officers of each Subsidiary, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers to, and cause to be
filed an appropriate application for authority to retain the services of Vinson & Elkins LLP;

       FURTHER RESOLVED, that the engagement of Blank Rome LLP as special maritime
counsel to advise the each Subsidiary with respect to certain regulatory matters in connection with
the contemplated chapter 11 filing, is hereby approved, and each of the Authorized Officers of
each Subsidiary is hereby authorized and directed to take such actions as may be required to so
engage such firm for such purposes; and in connection therewith, each of the Authorized Officers
of each Subsidiary, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers to, and cause to be filed an appropriate
application for authority to retain the services of Blank Rome LLP;

       FURTHER RESOLVED, that the engagement of Stephens Inc (the acquirers and
successors of Blackhill Partners, LLC) as investment banker to represent and assist each
Subsidiary in carrying out its duties under the Bankruptcy Code in U.S. Bankruptcy Court, and to
take any and all actions to advance each Subsidiary’s rights and obligations, is hereby approved,
and each of the Authorized Officers of each Subsidiary is hereby authorized and directed to take
such actions as may be required to so engage such firm for such purposes; and in connection
therewith, each of the Authorized Officers of each Subsidiary, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers to,
and cause to be filed an appropriate application for authority to retain the services of Stephens Inc.;

        FURTHER RESOLVED, that the engagement of Postlethwaite & Netterville as financial
advisor to represent and assist each Subsidiary in carrying out its duties under the Bankruptcy
Code in U.S. Bankruptcy Court, and to take any and all actions to advance each Subsidiary’s rights
and obligations, is hereby approved, and each of the Authorized Officers of each Subsidiary is
hereby authorized and directed to take such actions as may be required to so engage such firm for
such purposes; and in connection therewith, each of the Authorized Officers of each Subsidiary,
with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers to, and cause to be filed an appropriate application for
authority to retain the services of Postlethwaite & Netterville;

        FURTHER RESOLVED, that the engagement of Deloitte Tax LLP as tax advisor to
represent and assist each Subsidiary in carrying out its duties under the Bankruptcy Code in U.S.
Bankruptcy Court, and to take any and all actions to advance each Subsidiary’s rights and
obligations, is hereby authorized, and each of the Authorized Officers of each Subsidiary is hereby
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authorized and directed to take such actions as may be required to so engage such firm for such
purposes; and in connection therewith, each of the Authorized Officers of each Subsidiary, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers to, and cause to be filed an appropriate application for
authority to retain the services of Deloitte Tax LLP;



        FURTHER RESOLVED, that the engagement of Prime Clerk, LLC as notice and claims
agent to represent and assist each Subsidiary in carrying out its duties under the Bankruptcy Code
in U.S. Bankruptcy Court, and to take any and all actions to advance each Subsidiary’s rights and
obligations, is hereby approved, and each of the Authorized Officers of each Subsidiary is hereby
authorized and directed to take such actions as may be required to so engage such firm for such
purposes; and in connection therewith, each of the Authorized Officers of each Subsidiary, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers to, and cause to be filed an appropriate application for
authority to retain the services of Prime Clerk, LLC;

        FURTHER RESOLVED, that each of the Authorized Officers of each Subsidiary is
hereby authorized and directed to employ any other professionals to assist each Subsidiary in
carrying out its duties under the Bankruptcy Code; and in connection therewith, each of the
Authorized Officers of each Subsidiary, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers and fees, and to
cause to be filed an appropriate application for authority to retain the services of any other
professionals as necessary;

Cash Collateral and Adequate Protection

        FURTHER RESOLVED, that the Authorized Officers of each Subsidiary be, and each of
them hereby is, authorized, directed and empowered in the name of, and on behalf of, such
Subsidiary, as debtor and debtor in possession, to seek approval of a cash collateral order in interim
and final form (a “Cash Collateral Order”) and to negotiate, execute and deliver any and all
agreements, instruments or documents, by or on behalf of such Subsidiary, necessary, appropriate,
or convenient to implement the Cash Collateral Order, as well as any additional or further
agreements for the use of cash collateral in connection with the chapter 11 case, which
agreement(s) may require such Subsidiary to grant liens to such Subsidiary’s existing lenders or
secured noteholders and each other agreement, instrument or document to be executed and
delivered in connection therewith, by or on behalf of such Subsidiary pursuant thereto or in
connection therewith, all with such changes therein and additions thereto as any Authorized
Officer approves, such approval to be conclusively evidenced by the taking of such action or by
the execution and delivery thereof;

General

        FURTHER RESOLVED, that the Authorized Officers of each Subsidiary be, and each of
them hereby is, authorized, on behalf of each Subsidiary, to certify and attest to any documents
that he or she may deem necessary, appropriate, or convenient to consummate any transactions
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necessary to effectuate the foregoing resolutions; provided, such attestation shall not be required
for the validity of any such documents; and

       FURTHER RESOLVED, that all actions heretofore taken by any officer, employee or
representative of each Subsidiary in its name or for its account in connection with any of the above
matters are hereby in all respects ratified, confirmed and approved.

                       [The remainder of this page is intentionally blank.]
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Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 23 of 27
Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 24 of 27
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Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 26 of 27
                      Case 18-31082 Document 1 Filed in TXSB on 03/07/18 Page 27 of 27

 Fill in this information to identify the case and this filing:


 Debtor Name Harvey Gulf International Marine, LLC
             __________________________________________________________________
                                               Southern
 United States Bankruptcy Court for the: ______________________               Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X                                               Corporate Resolutions
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 03 / 07 / 2018
                    ______________                         8    /s/ Shane J. Guidry
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                                Shane J. Guidry
                                                                ________________________________________________________________________
                                                                Printed name




                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor


Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
